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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:03CR3034-2
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )          MEMORANDUM
                                               )          AND ORDER
JASON CHARLES YAEGER,                          )
                                               )
                     Defendant.                )

       Defense counsel provided the undersigned with the following note dated February 23,
2008, from Jerry E. Rector, M.D.:

       This letter is to serve as an update on the status of [patient Jayci Yaeger]. She
       was brought to the emergency department after increased seizure activity and
       decreased responsiveness. She was found to have a large intracranial
       hemorrhage. Her condition has been determined to be critical and this latest
       intracranial insult is something that we do not believe she can recover from.
       It is believed that she will pass away soon. I have advised parents and
       relatives to come pay their last respects as soon as possible.

       At the defendant’s request, and with the agreement of counsel for the parties and the
Probation Officer, they all agree that Jason Charles Yaeger should be allowed to visit his
dying child. The undersigned agrees as well. Therefore,

       IT IS ORDERED that:

        (1)    The Bureau of Prisons is strongly encouraged to allow Jason Charles Yaeger
to visit his dying child Jayci Yaeger who is presently located at the Children’s Hospital in
Omaha, Nebraska, where she will be receiving hospice care. In other words, the court
strongly encourages the Bureau of Prisons to allow Mr. Yaeger with as many “escorted trips”
or “escorted day trips” to visit Jayci Yaeger as is appropriate.

      (2)    Craig Ford, the United States Probation Officer assigned to this case, shall
provide the Bureau of Prisons with a copy of this order and he shall do whatever he can do
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to assist the Bureau of Prisons in seeing to it that Mr. Yaeger is able to visit with his child
before her death.

       February 26, 2008.                  BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge




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